       Case 3:11-cr-01448-MMA                        Document 1658                Filed 03/11/14              PageID.6301             Page 1 of
                                                                             4

    ~o 2450 (CASO) (Rev, 1/12) Judgment in a Criminal Case for Revocations

               Sheet 1



                                            UNITED STATES DISTRICT COURT 14 HJ,R II Pri 12: 5~
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA
                                       V.
                                                                                 JUDGMENT IN A CRIMINAL                          CAS~
                                                                                 (For Revocation of Probation or Supervised Release)
                                                                                                                                             'r::'l'


              PATRICK DAIRMAR GLADNEY (22),                                      (For Offenses Committed On or After November I, 1987)


                                                                                 Case Number: I ICRI448-MMA

                                                                                 Kathryn A. Thickstun
                                                                                 Defendant's Attorney
    REGISTRATION No.            25438298
o   THE DEFENDANT:
     D  admitted guilt to violation of allegation(s) No ...;I:....-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found in violation of allegation(s) No.                                                      after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is gUilty of the following allegation(s):


    Allegation Number             Nature ofViolatioD
            I         Failure to complete punitive RRC (Residential Reentry Center) placement (nv24)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                   4      of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.




                                                                                 HON. MICHAEL M. ANELLO
                                                                                 UNITED STATES DISTRICT JUDGE




                                                                                                                                    II CRI448-MMA
     Case 3:11-cr-01448-MMA                           Document 1658              Filed 03/11/14     PageID.6302         Page 2 of
                                                                             4
AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 2 Imprisonment

                                                                                                  Judgment - Page   2   of     4
 DEFENDANT: PATRICK DAIRMAR GLADNEY (22).
 CASE NUMBER: llCRl448-MMA
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SEVEN (07) MONTHS




    o The court makes the following recommendations to the Bureau of Prisons:

     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Da.m.         Dp.m.    on _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:
           o before ------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                        to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                             By ______________________________________
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                        11CRl448-MMA
        Case 3:11-cr-01448-MMA                      Document 1658                 Filed 03/11/14             PageID.6303              Page 3 of
                                                                             4
AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page   ~          of _ _.::4_ __
DEFENDANT: PATRICK DAIRMAR GLADNEY (22),                                                              II
CASE NUMBER: IlCRI448-MMA
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIFTY (50) MONTHS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J3, J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ­

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

I8l The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
18I Backlog
    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
            Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o       The defendant shall comply with die requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION

   I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)      the defendant shaH notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  ll)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;

  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or Characteristics and shall permit the probation officer to make such notifications and to confIrm the
          defendant's compliance with such notification requirement.
                                                                                                                                       llCR1448-MMA
 Case 3:11-cr-01448-MMA                         Document 1658       Filed 03/11/14          PageID.6304             Page 4 of
                                                                4
AO 2458   (Rev. 9100) Judgment in a Criminal Case
          Sheet 4 Special Conditions
                                                                                                               ;)
                                                                                             Judgment-Page           of   4
DEFENDANT:               PATRICK DAIRMAR GLADNEY (22),                                               a
CASE NUMBER: IICRl448-MMA

                                      SPECIAL CONDITIONS OF SUPERVISION
I. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and
in a reasonable manner, based upon reasonable suspicion of contraband or evidence ofa violation of a condition of release; failure
to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject
to searches pursuant to this condition.

2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as
directed by the probation officer. Allow for reciprocal release of information between the probation officer and the treatment
provider. May be required to contribute to the costs of services rendered in an amount to be determined by the probation officer,
based on ability to pay.

3. Shall not associate with any known probationer, parolee, or gang member, including but not limited to any member of the Deep
Valley Crips or Crips affiliate.

4. Shall not possess, wear, use or display or have in his possession any item associated with gang dress or any item prohibited by
the probation officer, including but not limited to any insignia, emblem, badge, cap, hat, scarf, bandanna, or any article of
clothing, hand sign or paraphernalia associated with membership or affiliation in any gang, including but not limited to any Crips
gang faction.

5. Participate in a program ofmental health treatment as directed by the probation officer, take all medications as prescribed by a
psychiatrist/physician, and not discontinue any medication without permission. The court authorizes the release of the presentence
report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for
reciprocal release of information between the probation officer and the treatment provider. May be required to contribute to the
costs of services rendered in an amount to be determined by the probation officer, based on ability to pay.

6. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days commencing
upon release from imprisonment pending acceptance into a residential drug treatment program.

7. Enter and successfully compete a residential drug treatment program approved by the probation officer.




                                                                                            IICRI448-MMA
